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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION


UNITED STATES OF AMERICA


VERSUS                                                 CRIMINAL ACTION NO. 4:05CR83-P-B


TAVARES MARTIN aka “T-Dog”
and MELVIN DUNCAN

                                              ORDER

        This cause is before the Court on the defendants’ Motion for Continuance [19]. The Court,

having reviewed the motion and being otherwise fully advised in the premises, finds as follows, to-

wit:

        The trial of this matter is currently set for August 22, 2005. Defense counsel represents in

the motion that they have a conflict due to a prior existing trial setting. Rule 16.3 of the Uniform

Local Rules provides: “When the Court has set a case for trial . . . which conflicts with a court

appearance of counsel in other courts, the first case having a firm setting shall control . . . .” The

Court is also advised that the government does not oppose the requested continuance.

        These circumstances enable the Court to exclude, pursuant to 18 U.S.C. § 3161(h)(8)(A), the

period of delay from August 22, 2005 until the new trial date to be set in this matter. The time is

excludable under subsection (h)(8)(A) because, given defense counsel’s conflicting prior trial setting

in another court, a continuance is required under the Local Rules and in order to ensure the

availability of defense counsel at the trial of this cause. Therefore, the Court finds that the ends of

justice served by the granting of this continuance outweigh the best interests of the public and the

defendants in a speedy trial.
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 IT IS, THEREFORE, ORDERED AND ADJUDGED that

 1.     The defendants’ Motion for Continuance [19] is GRANTED;

 2.    That the trial of this matter is continued as to all defendants until Monday, September

       26, 2005 at 9:00 a.m. in the United States District Courthouse in Greenville,

       Mississippi; multiple voir dire is to be held at the same time and place;

 3.    That the delay from August 22, 2005 until September 26, 2005 is excluded as set out

       above;

 4.    That the deadline for filing pretrial motions is September 5, 2005;

 5.    That the deadline for submitting a plea agreement is September 12, 2005.

 SO ORDERED, this the 3rd day of August, 2005.

                                              /s/ W. Allen Pepper, Jr.
                                              W. ALLEN PEPPER, JR.
                                              UNITED STATES DISTRICT JUDGE
